UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

Dw Webbing

Plaintiff

Case No. 10 -3365 - CY- S REO

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Defendant icla

APPLICATION FOR LEAVE TO FILE ACTION
WITHOUT PAYMENT OF FEES
WITH AFFIDAVIT OF FINANCIAL STATUS IN SUPPORT
I state that I am unable to pay the fees to file an action against the defendant(s) in this case
and that the actions of the defendant(s) have harmed me.

Attached is my Affidavit of Financial Status in support of my application to the >ourt for

leave to file a civil action without payment of costs.

Plaintiff

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